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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO
                                  JUDGE CHARLOTTE N. SWEENEY


   Civil Action:          20-cv-02551-CNS-MEH                   Date: March 8, 2024
   Courtroom Deputy:      Julie Dynes                           Court Reporter: Sarah Mitchell

                    Parties                                                   Counsel

    THE CAPTURE ELEVEN GROUP                                            Nicole Cunningham
                                                                         Timothy Williams
                                                                          Howard Wisnia
                              Plaintiff/Counter Defendant

    v.

    OTTER PRODUCTS LLC                                                    James Beard
                                                                          Joseph Dubis
                                                                       Heather Kliebenstein
                              Defendant/Counter Claimant

    v.

    VERITY HOSKINS PRODUCTION INC
                    Third Party Defendant



                                       COURTROOM MINUTES


   JURY TRIAL DAY FIVE

   Court in Session: 8:20 a.m.

   Jury not present. Discussion held on equitable issues, remaining witnesses, and trial timing,
   including the jury instruction charge conference.

   Jury present.

   8:33 a.m.       Continued presentation of the video deposition testimony of Mr. Kelly.

   Plaintiff’s witness, Verity Hoskins, called via video deposition.
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   9:07 a.m.       Video deposition testimony of Ms. Hoskins presented.

   9:34 a.m.       Court in recess.
   9:51 a.m.       Court in session – jury not present.

   ORDERED: Exhibits 161, 163-171, 173, 175- 177, 1006, 1007, 1009, 1012, 1013, 1016, 1017,
            1019-1021, 1024-1034, 1036-1041, 1046, 1048 and 1053 are admitted.

   Jury present.

   9:57 a.m.       Continued presentation of the video deposition testimony of Ms. Hoskins.

   Plaintiff rests its case in chief.

   Plaintiff’s witness, Melissa Crompton, called and sworn.

   10:37 a.m.      Direct examination of Ms. Crompton by Mr. Dubis.
                   Exhibits 520 and 923 are admitted.

   10:57 a.m.      Cross examination of Ms. Crompton by Mr. Wisnia.

   Juror questions reviewed at the bench.

   11:07 a.m.      Juror questions asked of Ms. Crompton by the Court.

   Pause in proceedings.

   Plaintiff’s witness, Jordan Vater, called and sworn.

   11:14 a.m.      Direct examination of Mr. Vater by Ms. Kliebenstein.
                   Exhibit 775 is admitted.

   11:43 a.m.      Cross examination of Mr. Vater by Mr. Wisnia.

   11:52 a.m.      Redirect examination of Mr. Vater by Ms. Kliebenstein.

   Plaintiff’s witness, Janice Moses, called via video deposition.

   11:54 a.m.      Video deposition of Ms. Moses presented.

   Jury excused.

   Plaintiff withdraws vicarious and contributory infringement claims and claims as to the 2018
   registration.
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   Argument given on Defendant’s Oral Motion for Judgment as a Matter of Law by Ms. Stradley,
   Ms. Kiefer, Mr. Wisnia and Ms. Kliebenstein.

   As outlined on the record, it is

   ORDERED: Defendant’s Oral Motion for Judgment as a Matter of Law is DENIED in
            part and TAKEN UNDER ADVISEMENT in part.

   12:56 p.m.      Court in recess.
   1:34 p.m.       Court in session – jury not present.

   Continued discussion on pending Oral Motion for Judgment as a Matter of Law.

   Jury present.

   Plaintiff’s witness, Gary Elsner, called and sworn.

   1:40 p.m.       Direct examination of Mr. Elsner by Mr. Beard.
                   Exhibits 1062 and 1063 are admitted.

   2:35 p.m.       Cross examination of Mr. Elsner by Mr. Wisnia.

   2:55 p.m.       Redirect examination of Mr. Elsner by Mr. Beard.

   Juror questions reviewed at the bench.

   3:00 p.m.       Juror questions asked of Mr. Elsner by the Court.

   Jury excused, to return Monday March 11, 2024, at 8:30 a.m.

   3:03 p.m.       Court in recess.
   3:14 p.m.       Court in session.

   Jury instructions reviewed and ruled upon as outlined on the record.

   Parties are limited to 35 minutes for closing arguments.

   Discussion held on quoting from realtime and deposition transcripts.

   Parties are to return Monday March 11, 2024, at 8:00 a.m.

   Court in Recess: 4:06 p.m.            Trial continued.              Total time in Court: 06:40
